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15   Attorneys for Specially Appearing Defendant
     Thomson S.A.
16

17                                UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                       SAN FRANCISCO DIVISION
20   IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
     ANTITRUST LITIGATION                            MDL No. 1917
21
                                                     THOMSON S.A’S NOTICE OF
22   This Document Relates to:                       INABILITY TO ATTEND STATUS
                                                     CONFERENCE
23   Sharp Electronics Corp., et al. v.
     Hitachi, Ltd., et al., No. 13-cv-01173.
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     THOMSON S.A.’S NOTICE OF INABILITY TO       1                       No. 07-5944-SC; MDL No. 1917
     ATTEND STATUS CONFERENCE
         Case 4:07-cv-05944-JST Document 1893 Filed 09/05/13 Page 2 of 3



 1           Defendant Thomson S.A. files this Notice of Inability to Attend in connection with the
 2   status conference scheduled for September 13, 2013.
 3           On July 2, 2013, the Court entered an Order Setting Status Conference [Dkt. No. 1758]
 4   requiring “[a]ll principle parties and lawyers . . . to appear” for a hearing on September 13, 2013 to
 5   discuss “the progress of the case and the prospects for its efficient resolution.” (Order at 1.) The
 6   Court ordered that attendance is mandatory, but provided: “If a party believes it has a valid excuse
 7   for not being present and represented at the hearing, it should file a notice explaining the reasons for
 8   its absence, no later than one week before the hearing date.” (Id. at 2.)
 9           Outside counsel for specially appearing Defendant Thomson S.A., Kathy Osborn of Faegre
10   Baker Daniels LLP, will attend the conference to represent Thomson S.A.. Thomson S.A. requests,
11   however, that it be excused from attending and that the Court allow its counsel, Ms. Osborn, to
12   attend on its behalf. Thomson S.A. is a French holding company with its principal place of
13   business located in Issy-Les-Moulineaux, France, and it does not have any presence (such as
14   operations, employees, or offices) in the United States. Because it lacks minimum contacts with
15   the United States, it has filed a Motion to Dismiss for Lack of Personal Jurisdiction [Dkt. No. 1765]
16   the claims alleged against it in this action, which Motion is now pending before the Court.
17           Thomson S.A. therefore respectfully requests that the Court excuse Thomson S.A. from
18   attending the conference and permit its counsel, Ms. Osborn of Faegre Baker Daniels LLP, to
19   represent it at the conference. 1
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       At the conference, Ms. Osborn will also appear on behalf of and represent Defendant Thomson
24   Consumer, Inc. (“Thomson Consumer”), a U.S.-based wholly-owned subsidiary of Thomson S.A.
25   A client representative of Thomson Consumer will also attend the conference. Because Faegre
     Baker Daniels LLP has replaced Sullivan & Cromwell LLP as Thomson Consumer’s counsel in
26   this action, the issues raised in Sullivan & Cromwell LLP’s July 9, 2013 letter regarding the
     inability of attorneys from that law firm to attend the conference are now moot and may be
27   disregarded. (See July 9, 2013 letter from R. Sacks, attached as Ex. 1.)
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     THOMSON S.A.’S NOTICE OF INABILITY TO          2                          No. 07-5944-SC; MDL No. 1917
     ATTEND STATUS CONFERENCE
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 3   Dated: September 5, 2013                    Respectfully submitted,
 4
                                                   /s/   Kathy L. Osborn
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